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 1                                                                The Honorable Richard A. Jones

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 7                             UNITED STATES DISTRICT COURT FOR THE
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE
 9
10   UNITED STATES OF AMERICA,                                NO. CR23-178 RAJ
11                              Plaintiff,
                                                              GOVERNMENT’S NOTICE OF
12                        v.                                  SATISFACTION OF CRIMINAL FINE
                                                              AND FORFEITURE MONEY
13   BINANCE HOLDINGS LIMITED, d/b/a
                                                              JUDGMENT
     BINANCE.COM,
14
15                                        Defendant.

16
17          The Government hereby provides notice to the Court that, as of May 23, 2025,
18 Defendant Binance has satisfied its payment obligations pursuant to its agreement with the
19 Department of Justice according to the Court’s February 23, 2024 Judgment in this case.
20 Dkt. 35 at 4. The Government provides further notice that the Defendant has satisfied its
21 obligations to the Commodity Futures Trading Commission (“CFTC”), the Financial
22 Crimes Enforcement Network (“FinCEN”), and the Office of Foreign Assets Control
23 (“OFAC”), as contemplated by the Judgment’s “Schedule of Payments.” Thus, as
24 described in further detail below, $112,031,763 in the Court’s possession should be
25 directed to the Department of the Treasury, Treasury Forfeiture Fund.
26          The Court ordered Binance to pay a special assessment of $1,200 and a fine of
27 $1,805,475,575 (the “Criminal Fine”). Dkt. 35 at 3. In addition, on February 13, 2024, the
     Govt.’s Notice re: Fine & Forfeiture – 1                          UNITED STATES ATTORNEY
     United States v. Binance, CR23-178RAJ                            700 STEWART STREET, SUITE 5220
                                                                        SEATTLE, WASHINGTON 98101
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 1 Court ordered Binance to forfeit to the United States a money judgment totaling
 2 $2,510,650,558. Dkt. 31 at 3-4. That money judgment consisted of $1,612,031,763 (the
 3 “1960 Money Judgment”) forfeitable based on the Defendant’s plea to Count 2 of the
 4 Information as “the profits the Defendant obtained from its commission of Conducting an
 5 Unlicensed MTB” and $898,618,825 (the “IEEPA Money Judgment”), based on the
 6 Defendant’s plea to Count 3 of the Information that “reflects the proceeds the Defendant
 7 obtained from its commission of Violation of IEEPA.” Dkt. 31 at 3.
 8          The Judgment ordered the Defendant to pay its fine and forfeiture obligations
 9 according to a Schedule of Payments that incorporated paragraphs 14a and 16 of the
10 November 21, 2023 Plea Agreement. Dkt. 23, 28; see Dkt. 35 at 4. These paragraphs of the
11 Plea Agreement, as modified by the December 11, 2023 Notice of the Parties in Advance
12 of Sentencing (Dkt. 28), outlined that the Government would deem a portion of the
13 Criminal Fine and the 1960 Money Judgment paid after Binance paid its fine to the CFTC,
14 FinCEN, and OFAC, as explained below. The relevant parts are attached to this filing as
15 Addendum A.
16          Under paragraph 14a of the Plea Agreement, if Binance paid FinCEN or OFAC
17 $300,000,000 within fifteen months of sentencing, the Government agreed to deem
18 $300,000,000 of the Criminal Fine paid, leaving $1,505,475,575 of the Criminal Fine
19 remaining to be paid to the Court. Addendum A ¶ 14a.
20          Under paragraph 16 of the Plea Agreement, the Government agreed that if Binance
21 or its Chief Executive Officer paid $950,000,000 to the CFTC and $550,000,000 to
22 FinCEN or OFAC, both within fifteen months of the sentencing, the Government would
23 deem $1,500,000,000 of the 1960 Money Judgment paid, Addendum A ¶ 16, leaving
24 $112,031,763 remaining to be forfeited to the Department of the Treasury, Treasury
25 Forfeiture Fund.
26
27
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 1              The Defendant paid (1) the special assessment on February 20, 2024 1; (2) the
 2 $898,618,825 IEEPA Money Judgment on March 21, 2024, Dkt. 38; and
 3 (3) $1,505,475,575 of the Criminal Fine in a series of payments to the Court between July
 4 8 and 16, 2024. 2 The CFTC, FinCEN, and OFAC confirmed to the Government that the
 5 Defendant satisfied its payment obligations outlined above as of May 23, 2025. On May
 6 14 and May 23, 2025, Binance satisfied the remainder of the 1960 Money Judgment by
 7 making payments to the Court via Fedwire totaling $112,031,763.
 8              Binance has thus satisfied the payments ordered by the Court pursuant to the Plea
 9 Agreement in full. Because the 1960 Money Judgment was forfeited in satisfaction of the
10 money judgment imposed for the violation of 18 U.S.C. § 1960, the $112,031,763 paid in
11 satisfaction of the money judgment must be directed from the Clerk of the Court to the
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      The payment of the special assessment was recorded on the U.S. Courts’ Case Inquiry Report,
23   DWAW223CR000178. The Court provided it to the Government on May 23, 2025.

24   2
         Docket entries reflect the following payments to the Court via Fedwire:
           • $100,000.00 on July 8, 2024,
25         • $400,000,000.00 on July 11, 2024,
           • $410,000,000.00 on July 12, 2024,
26         • $420,000,000.00 on July 15, 2024, and
           • $275,375,575.00 on July 16, 2024.
27
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 1 Department of the Treasury, Treasury Forfeiture Fund, to complete the obligations under
 2 the Plea Agreement. 31 U.S.C. § 9705(d)(2)(A).
 3
 4 DATED this 11th day of June, 2025.
 5
 6 FOR THE DEPARTMENT OF JUSTICE:
 7
     MARGARET A. MOESER                                TEAL LUTHY MILLER
 8   Chief                                             Acting United States Attorney
     Money Laundering and Asset Recovery               Western District of Washington
 9   Section, Criminal Division
10   U.S. Department of Justice                        s/ Jonas Lerman
                                                       Michael Dion
11   s/ Kevin G. Mosley                                Jonas Lerman
     Kevin G. Mosley                                   Assistant United States Attorneys
12
     Elizabeth R. Carr
13   Trial Attorneys
14   JENNIFER KENNEDY GELLIE
15   Chief
     Counterintelligence and Export Control
16   Section, National Security Division
     U.S. Department of Justice
17
18   s/ Alex Wharton
19   Alex Wharton
     Trial Attorney
20
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 1                                                Addendum A
 2          The parties agree that this addendum shall become Addendum A to the Plea
 3 Agreement and shall be incorporated and replace paragraphs 14a, 16, and 24 of the Plea
 4 Agreement filed on November 21, 2023 (ECF No. 23).
 5          14a.     Criminal Fine. The parties agree the appropriate sentence of a fine is a fine
 6 of $1,805,475,575 (“Criminal Fine”). This reflects a twenty (20) percent discount off the
 7 bottom of the applicable Sentencing Guidelines fine range for Defendant’s partial
 8 cooperation and remediation. Defendant agrees to pay the Criminal Fine on the schedule
 9 set forth below in Paragraph 24. The Offices will credit $300,000,000 of the penalty that
10 Defendant pays to FinCEN or OFAC in connection with parallel resolutions entered into
11 between the Defendant and FinCEN or OFAC by the end of fifteen months from the
12 sentencing of the Defendant against the Criminal Fine (the “Treasury Fine Credit”).
13 Should Defendant not pay any portion of the Treasury Fine Credit to FinCEN or OFAC
14 within fifteen months from the sentencing of the Defendant for any reason, Defendant
15 will pay the remaining portion of the Criminal Fine to the U.S. Treasury within ten
16 business days.
17          16.      Defendant further agrees to forfeit to the United States its right, title, and
18 interest in any property, real or personal, involved in its commission of conducting an
19 unlicensed MTB, as charged in Count 2 of the Information. All such property is
20 forfeitable pursuant to Title 18, United States Code, Section 982(a)(1), and includes, but
21 is not limited to, a money judgment of least $1,612,031,763, which Defendant admits it
22 collected in fees for transactions involving its United States users and includes, but is not
23 limited to, a sum of money reflecting the proceeds Defendant obtained from this offense
24 (the “1960 Money Judgment”). The Offices will credit $950,000,000 of the penalty that
25 Defendant and/or Defendant’s Chief Executive Officer Changpeng Zhao pay to the
26 CFTC in connection with a parallel resolution entered into between the CFTC and the
27
     Notice of the Parties in Advance of Sentencing                    UNITED STATES ATTORNEY
     United States v. Binance, CR23-178RAJ                            700 STEWART STREET, SUITE 5220
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 1 Defendant or Zhao by the end of fifteen months from the sentencing of the Defendant
 2 against the 1960 Money Judgment (the “CFTC Credit”). The Offices will credit
 3 $550,000,000 of the penalty that Defendant pays to FinCEN or OFAC in connection with
 4 parallel resolutions entered into between the Defendant and FinCEN or OFAC by the end
 5 of fifteen months from the sentencing of the Defendant against the 1960 Money
 6 Judgment (the “Treasury Forfeiture Credit”). Should Defendant and/or Zhao not pay any
 7 portion of the CFTC Credit or the Treasury Forfeiture Credit to the CFTC, FinCEN, or
 8 OFAC within fifteen months from the sentencing of the Defendant for any reason,
 9 Defendant will forfeit to the United States the remaining portion of the 1960 Money
10 Judgment within ten business days.
11          24.      Payment Terms. The Defendant agrees to pay the Total Money Judgment
12 and Criminal Fine as follows:
13      x No later than 30 days after the Defendant’s sentencing, payment of $898,618,825,
14          the IEEPA Money Judgment;
15      x    No later than 6 months after the Defendant’s sentencing, payment of
16          $1,612,031,763 of the Criminal Fine, subject to the crediting set forth in Paragraph
17          14(a); and
18      x No later than 15 months after the Defendant’s sentencing, payment of the
19          remainder of the Criminal Fine and the 1960 Money Judgment, subject to the
20          crediting set forth in Paragraphs 14(a) and 16.
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